                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06CR165-17


UNITED STATES OF AMERICA,                      )
                                               )
Vs.                                            )             ORDER
                                               )
PHILLIP IRBY ROBBINS,                          )
                                               )
                  Defendant.                   )
________________________________________       )


        THIS CAUSE coming before the undersigned, pursuant to a Motion to Continue

(#341) filed herein by defendant’s counsel on May 14, 2007, and it appearing to the court

that good cause has been shown for the granting of said motion.

                                        ORDER

        IT IS, THEREFORE, ORDERED that the Motion to Continue (#341) be

ALLOWED and continued until May 17, 2007.

                                           Signed: May 22, 2007




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